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 13   D and D Marketing,
              Marketing, Inc.,
                          Inc.,cVb/a
                                d/b/a T3Leads,
      Grigor Demirchyan, and Marina
 14   Demirchyan
 15

 16                          UNITED STATES DISTRICT COURT
 17                        CENTRAL DISTRICT OF CALIFORNIA
 18                                  WESTERN DIVISION
 19   Consumer Financial Protection Bureau, )     Case No.
                                                  Case       2:15-cv-09692-PSG(Ex)
                                                       No. 2:15-cv-09692-PSG(Ex)
                                            )
 20                                         )     Hon. Philip S. Gutierrez
                                            )
 21                       Plaintiff,
                          Plaint            )
                                            )     DEFENDANTS’ NOTICE OF
                                                  DEFENDANTS'
 22         v.                              )     MOTION & MOTION TO STAY
                                            )     THE CASE PENDING
 23                                         )     DISPOSITION OF APPEAL
                                            )
 24   D and D
            D Marketing,
               Marketing,Inc.,
                           Inc.,cVb/a
                                 d/b/a      )
      T3Leads, Grigor Demirchyan, Marina )        Filed Concurrently with
 25   Demirchyan, et al.,                   )     Declaration of Herbert P. Kunowski
                                            )     and Proposed Order in Support
 26                                         )
                                            )     Hearing Date:        July 17, 2017
 27                       Defendants.       )     Hearing Time:        1:30 p.m.
                                            )     Courtroom:           6A
 28                                         )     Courthouse:          First Street
        DEFENDANTS’ NOTICE OF MOTION & MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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  1   TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
  2         Notice is hereby given that Defendants D and D Marketing,
                                                           Marketing, Inc., d/b/a T3
  3         (“T3”), Grigor Demirchyan and Marina Demirchyan (collectively
      Leads ("T3"),                                         (collectively “D&D”)
                                                                          "D&D")
  4   hereby move the Court for an order to stay further litigation in this Court pending
  5   completion
      completion of
                 of appellate
                    appellate proceedings.      motion is necessitated
                              proceedings. This motion    necessitated by the Ninth
                                                                              Ninth
  6   Circuit’s recent order
      Circuit's recent order accepting
                             accepting interlocutory
                                       interlocutory appellate
                                                     appellate review
                                                               review of the threshold,
                                                                      of the  threshold,
  7   jurisdictional issues presented in this case (D.E. 86), and the irreparable harm that
  8   will be suffered by D&D if this case is not stayed.
  9         This motion will be heard on July 17, 2017 at 1:30 p.m. in the United States
 10   District Court,
      District Court, Central
                      Central District
                              District of California, First Street Courthouse,
                                                                   Courthouse, located
                                                                               located at
 11   350 W. First Street, Los Angeles, CA 90012, by the Honorable Philip S. Gutierrez
 12   in Courtroom 6A.
 13         This motion is based on the fact that conducting further proceedings in this
 14   litigation, despite
      litigation, despite the pendency of
                          the pendency    D&D’s appeal,
                                       of D&D's appeal, will
                                                        will cause
                                                              cause D&D
                                                                    D&D irreparable
                                                                         irreparable
 15   harm and will be
      harm          be significantly
                        significantly burdensome
                                      burdensome for
                                                 for this Court and the parties,
                                                     this Court         parties, with
                                                                                 with
 16   D&D facing liability exposure of literally $1.8 billion (and counting), based on the
 17   monetary recovery
      monetary recovery being
                        being sought
                              sought that
                                      that was recently disclosed
                                           was recently disclosed by the plaintiff
                                                                  by the plaintiff
 18   Bureau.
 19                                       simultaneously mount a two-stage
            In addition, requiring D&D to simultaneously         two-stage defense,
                                                                           defense,
 20   one at the district court level and one at the appellate level, would be onerous and
 21   extremely expensive
                expensive for
                          for D&D.
                              D&D. Finally,
                                   Finally, because    post-trial appeal
                                            because aa post-trial appeal of
                                                                         of this
                                                                            this Court’s
                                                                                 Court's
 22   final judgment will
      final judgment will be required by
                          be required         losing party,
                                      by the losing  party, staying
                                                            staying the
                                                                    the case
                                                                        case would
                                                                             would
 23   promote, rather than undermine, judicial economy by preventing
      promote,                                            preventing protracted and
 24   costly discovery, an unnecessary trial and another subsequent appeal.
 25         The Motion is made following the conference of counsel, pursuant to C.D.
 26   Cal. R. 7-3, which took place on May 19, 2017. The Motion will be made based
 27   on this notice, the attached
                          attached motion, the declaration of Herbert P. Kunowski, and
 28   the Ninth
      the Ninth Circuit's
                Circuit’s recent
                          recent order
                                 order granting
                                       granting D&D's
                                                 D&D’s petition
                                                       petition for
                                                                for permission
                                                                    permission to
                                                                               to appeal
                                                                                  appeal
                                                11
        DEFENDANTS’ NOTICE OF MOTION & MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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  1   this Court's
      this Court’s order on D&D's
                   order on D&D’s motion
                                  motion to
                                         to dismiss.
                                            dismiss. This
                                                     This motion
                                                          motion is
                                                                 is also
                                                                    also based
                                                                         based on
                                                                               on
  2   records contained
              contained in
                        in the Court’s file in
                               Court's file in this
                                                this consolidated
                                                     consolidated action,
                                                                  action, and such further
                                                                                   further
  3   evidence,
      evidence, whether
                whether documentary
                        documentaryor
                                    or oral,
                                       oral, as
                                             as may
                                                may be
                                                    be presented
                                                       presented by
                                                                 by the
                                                                    the time
                                                                        time of the
  4   noticed hearing.
  5         The Bureau
            The Bureau is
                       is expected
                           expected to
                                     to oppose
                                         oppose this
                                                 thismotion.
                                                      motion.However,
                                                              However, co-defendant
                                                                        co-defendant
  6   Dmitry Fomichev, whose petition for appellate review was also recently granted,
  7   joins in the relief requested in this motion. Co-defendant Davit
                                            motion. Co-defendant Davit Gasparyan, whose
  8   petition for
      petition     appellate review
               for appellate review was likewise recently
                                    was likewise recently granted,
                                                          granted, intends
                                                                    intends to
                                                                             to file
                                                                                file a
  9   separate joinder in this motion.
 10
                                         Respectfully submitted,
 11

 12
      Dated: May 26, 2017                WILSON, ELSER, MOSKOWITZ,
                                           EDELMAN & DICKER LLP
 13

 14
                                         By: /s/ Robert Cooper
 15                                             Robert Cooper
 16                                             Attorneys for Defendants,
                                                D and D Marketing,
                                                         Marketing, Inc.,
                                                                     Inc.,cVb/a
                                                                           d/b/a T3Leads,
 17                                             Grigor Demirchyan, and Marina
 18                                             Demirchyan

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              Given the
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                               Circuit's decision     granting interlocutory
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              suffered, this Court should stay this case pending the
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  9
              1.
              1.       The balance of hardships tips decidedly in favor of a stay
 10                    pending the resolution of appellate proceedings. Otherwise,
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 13

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                           OF MOTION
                              MOTION &
                                     & MOTION
                                       MOTION TO
                                              TO STAY
                                                 STAY THE
                                                      THE CASE
                                                          CASE PENDING
                                                               PENDING DISPOSITION
                                                                       DISPOSITION OF
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                                     & MOTION
                                       MOTION TO
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                                                 STAY THE
                                                      THE CASE
                                                          CASE PENDING
                                                               PENDING DISPOSITION
                                                                       DISPOSITION OF
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                                                 iii
        DEFENDANTS’ NOTICE
       DEFENDANTS'  NOTICE OF
                           OF MOTION
                              MOTION &
                                     & MOTION
                                       MOTION TO
                                              TO STAY
                                                  STAY THE
                                                       THE CASE
                                                           CASE PENDING
                                                                PENDING DISPOSITION
                                                                        DISPOSITION OF
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  1                   MEMORANDUM OF POINTS & AUTHORITIES
  2   I.      Procedural Background
  3
              The Bureau has sued T3 and its officers under the CFPA, seeking monetary
  4   penalties, damages,
      penalties, damages, restitution,
                          restitution, disgorgement
                                       disgorgement and injunctive relief,
                                                    and injunctive relief, among other
  5
      remedies. In response to this lawsuit, D&D filed a motion to dismiss, challenging
  6   the Bureau's
      the Bureau’s allegations
                    allegations based
                                based on,
                                      on, inter
                                          inter alia,
                                                alia, its
                                                      its lack
                                                          lack of
                                                               of legal
                                                                   legal authority
                                                                          authority to
                                                                                    to
  7
      prosecute this action due to its unconstitutional structure.
  8
              Despite adopting D&D’s view that
                               D&D's view that the
                                               the Bureau’s structure is constitutionally
                                                   Bureau's structure
  9   flawed,
      flawed, this
              this Court
                   Court denied
                         denied the motion
                                    motion to dismiss.
                                              dismiss. (D.E.
                                                       (D.E. 57, pp. 6-8.) This Court,
                                                                                Court,
 10   however, subsequently
      however, subsequentlygranted
                            grantedD&D’s
                                    D&D'smotion
                                          motiontoto certify
                                                     certify this  issue for
                                                              this issue  for
 11   interlocutory appellate
      interlocutory appellate review.
                               review. In
                                        In response  to D&D’s
                                           response to        petition for permission
                                                        D&D's petition     permission to
 12   appeal the constitutionality
      appeal     constitutionality issue,
                                    issue, the Ninth Circuit
                                           the Ninth Circuit recently granted D&D's
                                                             recently granted D&D’s
 13
      request for interlocutory review.
 14                                                   disclosed that
              In addition, the Bureau itself recently disclosed that it is seeking
                                                                           seeking literally
                                                                                   literally
 15   $1.8 billion against D&D based on statutory
                                        statutory money
                                                  money penalties of $1,087,450
                                                                     $1,087,450 per
 16   day and every day. Decl. of Herbert
                                  Herbert P.
                                          P. Kunowski,
                                             Kunowski,TT
                                                       ¶¶ 2-3.
 17              light of
              In light of these
                           these significant,
                                  significant, new
                                               new developments
                                                    developments in this
                                                                     this massive
                                                                          massive lawsuit,
                                                                                   lawsuit,
 18
      D&D respectfully renews its request to stay the district court proceedings pending
 19       completion of
      the completion of appellate
                         appellate proceedings
                                   proceedings regarding
                                                regarding the
                                                           the threshold,
                                                                threshold, jurisdictional
                                                                            jurisdictional
 20
      issues accepted
             accepted for review. Based
                      for review. Based on
                                        on the
                                           the Bureau’s attempt to
                                               Bureau's attempt to obtain
                                                                   obtain aa ten-figure
                                                                              ten-figure
 21
      judgment against D&D, “[i]t is clear
                            "[i]t is clear that
                                           that [D&D]
                                                [D&D] would
                                                      would not”
                                                            not" be “able to
                                                                 be "able to post
                                                                             post such
                                                                                  such
 22
      aa bond."
         bond.” Pennzoil Co. v. Texaco,
                                Texaco, Inc.,
                                        Inc., 481 U.S. 1, 5 (1987). In the absence
                                                                           absence of a
 23
      stay pending             D&D’s right
           pending the appeal, D&D's right to
                                            to meaningful
                                               meaningful appellate
                                                          appellate review would be
 24   practically eliminated.
      practically eliminated. Accordingly,
                              Accordingly, D&D
                                           D&D will
                                               will be severely prejudiced
                                                                prejudiced without
                                                                           without a
 25
      stay.
 26
      ///
 27

 28   ///

                                                   11
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  1   II.   LEGAL DISCUSSION
  2
            The interlocutory appeal statute that is the subject of this motion provides in
  3
      pertinent part as follows:
  4

  5         “When aa district
            "When      district judge,
                                judge, in
                                        in making
                                           making in
                                                   in aa civil
                                                         civil action
                                                               action an
                                                                       an order
                                                                          order not
                                                                                 not otherwise
                                                                                       otherwise
            appealable under
            appealable    underthis
                                  this section,
                                        section,shall
                                                 shall be
                                                        be of   the opinion
                                                            of the   opinion that
                                                                              that such
                                                                                     such order
                                                                                           order
  6         involves aa controlling
            involves     controlling question
                                        questionofof law
                                                     law as        which there
                                                           as to which    there isis substantial
                                                                                      substantial
  7         ground for difference
            ground       difference of    opinion and
                                       of opinion and that an an immediate
                                                                  immediate appeal
                                                                              appeal from the
            order may materially advance the ultimate termination
                                                             termination of the litigation, he
  8
            shall so state
            shall     state in writing
                                 writing in such
                                             such order...
                                                  order… ThatThat application
                                                                    application for an an appeal
                                                                                          appeal
  9         hereunder shall not stay proceedings
            hereunder                    proceedings in the district court unless the district
            judge or the Court of Appeals or a judge thereof shall so order.”
                                                                           order." 2828 U.S.C.
                                                                                        U.S.C. §§
 10
            1292(b) (emphasis added).
 11
            Given the
            Given the Ninth
                      Ninth Circuit’s   decision granting
                              Circuit's decision granting interlocutory appellate
 12
            review and the irreparable harm that will be suffered, this Court
 13                                                           D&D's appeal.
            should stay this case pending the disposition of D&D’s   appeal.
 14         “No court can make time stand
            "No                     stand still
                                          still while
                                                while itit considers
                                                           considersan  appeal…
                                                                     anappeal ... and if a
 15   court takes the time it needs, the court’s
                                         court's decision may in some cases come too late
 16                         review." Nken v. Holder, 556 U.S. 418, 421
      for the party seeking review.”                               421 (2009).
                                                                       (2009). “A
                                                                               "A stay
 17   does not make
      does     make time
                    time stand
                         stand still,
                               still, but does hold a ruling
                                                      ruling in abeyance
                                                                abeyance to allow
                                                                            allow an
 18   appellate court the time necessary to review
                                            review it.”
                                                   it." Ibid.
 19         Accordingly, aa “trial
            Accordingly,    "trial court
                                   court may,
                                         may, with
                                              with propriety,
                                                   propriety, find
                                                              find itit is efficient
                                                                           efficient for its
 20   own docket and the fairest course for the parties to enter a stay of an action before
 21       pending resolution
      it, pending resolution of independent proceedings which
                                independent proceedings which bear
                                                              bear upon
                                                                   upon the case.”
                                                                        the case."
 22   Leyva v. Certified
      Leyva    Certified Grocers
                         Grocers of       Ltd., 593
                                 of Cal., Ltd.,     F.2d 857, 863
                                                593 F.2d      863 (9th
                                                                  (9th Cir.
                                                                       Cir. 1979).
                                                                            1979).
 23   “Where it
      "Where     is proposed
             it is   proposed that
                               that aapending
                                       pending proceeding
                                                proceeding be
                                                           be stayed,
                                                               stayed, the
                                                                        the competing
                                                                             competing
 24   interests which
                which will be affected
                              affected by the granting
                                              granting or refusal
                                                          refusal to grant a stay must be
 25   weighed. Among
      weighed. Among these
                     these competing
                           competing interests
                                     interests are
                                               are the possible
                                                       possible damage
                                                                damage which
                                                                       which may
 26   result from
      result from the granting of
                  the granting      stay, the
                               of a stay, the hardship
                                              hardship or inequity
                                                           inequity which
                                                                    which a party
                                                                            party may
                                                                                  may
 27   suffer in being required to go forward, and the orderly course of justice measured
 28

                                                   2
        DEFENDANTS’ NOTICE OF MOTION & MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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  1   in terms of the simplifying or complicating of issues, proof, and questions of law
  2   which could be
                  be expected
                     expected to
                              to result
                                 result from
                                        from aa stay.”
                                                stay." Filtrol Corp. v. Kelleher, 467 F.2d
  3   242, 244 (9th Cir. 1972) (internal quotation marks and citations omitted).
  4         Under this
            Under this balancing
                       balancing test,
                                 test, “a stronger showing
                                       "a stronger showing of one element
                                                           of one element may
                                                                          may offset
                                                                              offset aa
  5   weaker showing
      weaker showing of another.” Alliance
                     of another." Alliance for the Wild Rockies v. Cottrell, 632 F.3d
  6   1127, 1131 (9th Cir. 2011) (addressing preliminary injunction standard). Applying
  7   these principles
      these principles here,
                       here, this
                             this Court
                                  Court should
                                        should issue
                                               issue aa stay
                                                        stay based
                                                             based on
                                                                   on the
                                                                       the following
                                                                            following
  8                     to "promote
      analysis in order to
      analysis             “promote economy
                                    economy of time and
                                            of time and effort for itself,
                                                                   itself, for counsel,
                                                                               counsel,
  9   and for
      and for litigants.”
              litigants." Filtrol Corp., 467 F.2d at 244.
 10                1.     The balance of hardships tips decidedly in favor of a stay
 11                       pending the resolution of appellate proceedings. Otherwise,
                          D&D will suffer irreparable injury.
 12

 13         While monetary expenses incurred in litigation are generally not considered

 14   irreparable harm (D.E. 76, p. 10) in and of themselves, the harm faced by D&D in

 15                          represents a tiny fraction of the total
      terms of defense costs represents                        total amount
                                                                     amount of financial
                                                                               financial

 16   harm facing D&D. As illustrated below, a basic mathematical computation of the

 17   statutory money penalties
                      penalties identified
                                identified by the Bureau illustrates
                                                         illustrates that the stakes here

 18   are much higher: $1,791,595,661 and counting—just up to this week alone.

 19         Here’s the
            Here's  the math:
                        math: Applying
                              Applying the
                                       the three-year
                                           three-year statute of limitations (12 U.S.C. §

 20   5564(g)(1)), the Bureau will seek to recover penalties from December 17, 2012 to

 21   the present. This limitations period
                                    period encompasses
                                           encompasses 1,621
                                                       1,621 days
                                                             days as
                                                                  as of May 26, 2017.

 22   If the statutory rates of daily penalties are applied to this time period, as adjusted

 23   for inflation
          inflation (12 C.F.R.
                        C.F.R. § 1083.1(a)
                                 1083.1(a) (listing
                                           (listing adjusted
                                                    adjusted $1,105,241 daily rate
                                                             $1,105,241 daily rate for

 24   penalties under
      penalties         5565(c)(2)(C))), the Bureau
                under § 5565(c)(2)(C))),     Bureau will
                                                    will seek
                                                         seek $1,791,595,661
                                                              $1,791,595,661 against
                                                                             against

 25   D&D.
      D&D. See
           See 12
               12 U.S.C.
                   U.S.C. §§5565(c)(2)(C)
                             5565(c)(2)(C) (listing
                                            (listing daily
                                                     daily penalties
                                                            penalties for
                                                                       for knowing
                                                                            knowing

 26   violations before
      violations before inflation
                         inflation adjustments);
                                   adjustments); § 5565(c)(2)(B)
                                                    5565(c)(2)(B) (unadjusted
                                                                   (unadjusted daily
                                                                               daily

 27   penalties for reckless violations); Decl. of Herbert P. Kunowski, IN
                                                                        ¶¶ 2-3.

 28   ///

                                                   3
        DEFENDANTS’ NOTICE OF MOTION & MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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   1         Absent a stay, the parties
             Absent             parties will be
                                             be forced
                                                 forced to
                                                         to continue
                                                            continue forward
                                                                     forward with
                                                                             with merits-
                                                                                  merits-
   2   based discovery, extensive motion practice and time-consuming trial preparations.
   3               attendant with
       The burdens attendant           discovery, motion
                             with that discovery, motion and trial preparation
                                                                   preparation will be
   4   particularly acute, given the large universe of documents previously sought by the
   5   Bureau during the administrative phase of this case. In addition, D&D will need to
   6   seek comparably extensive discovery in connection with the issues of liability and
   7                                                          case.11
       damages, given the extensive breadth and scope of this case.
   8         But setting aside such defense costs, the sheer size of the monetary recovery
   9                by the
       being sought by the Bureau – aaten-figure
                           Bureau —    ten-figurejudgment
                                                  judgment that
                                                            that is
                                                                  is virtually
                                                                     virtually unprecedented
  10      administrative actions
       in administrative actions based
                                 based on the vicarious liability theory advanced
                                                                         advanced by the
  11   Bureau      – justifies
       Bureau here —  justifiesaa stay.
                                  stay. Allowing
                                        Allowing the
                                                 the parties
                                                     parties to pursue
                                                                pursue appellate
                                                                       appellate review
                                                                                 review
  12   would also eliminate the need for each side to simultaneously engage in dual-stage
  13   battles, substantially
       battles, substantially lessening
                               lesseningthe
                                         the burdens
                                             burdenson
                                                     on both
                                                        both the parties and
                                                             the parties and the Court.
                                                                                 Court.
  14   Otherwise, the mere threat of such liability would cause third parties (e.g., lenders,
  15   creditors, etc.) to avoid conducting business with D&D, fearing that D&D would
  16          able to
       not be able to meet
                      meet its
                            its future
                                 future financial
                                         financial obligations
                                                   obligations to those
                                                                  those parties,
                                                                        parties, thus causing
                                                                                      causing
  17   additional financial
       additional financial damage
                            damage to
                                   to D&D’s business. See
                                      D&D's business. See Sottera,
                                                          Sottera, Inc. v. FDA,
                                                                           FDA, 627
  18                            2010) (product
       F.3d 891, 899 (D.C. Cir. 2010) (product distributor
                                               distributor would be irreparably
                                                                    irreparably harmed
  19   by agency's
       by agency’s order
                   order that
                          that would
                               would destroy the distributor's
                                     destroy the distributor’s ability
                                                               ability to cover its
                                                                       to cover its
  20              costs). Based
       production costs).
       production         Based on the Bureau's
                                on the Bureau’s immunity
                                                 immunity for
                                                          for such
                                                               such damages,
                                                                     damages, D&D
                                                                              D&D
  21   would not be able to recover such damages after the dismissal of this lawsuit, thus
  22   further illustrating the practical harm in denying a stay.
  23
       ///
       III
  24

  25   ///
       IH
  26
  27
       1
       1 See the
        See   the parties'
                  parties’ Joint
                            Joint Rule
                                  Rule 26(f)
                                       26(f) Report
                                             Report filed
                                                     filed April
                                                           April 20,
                                                                 20, 2017
                                                                     2017(D.E.
                                                                          (D.E.83).   In
                                                                                83). In
       addition, the parties engaged in an extended hearing today before U.S. Magistrate
                                                                              Magistrate
  28   Judge Charles F. Eick on these particular issues.
                                                    4
         DEFENDANTS’ NOTICE OF MOTION & MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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   1
                      2.    D&D is likely to succeed on the serious questions presented
                            in its successful petition for appellate review.
   2
                D&D has
                D&D       sufficient likelihood
                    has a sufficient likelihood of
                                                of success
                                                   success on     merits to support
                                                           on the merits    support the
   3
       issuance of a stay. While the vast
                                     vast majority
                                          majority of petitions
                                                      petitions for
                                                                for interlocutory
                                                                    interlocutory appellate
   4
       review are
       review are summarily
                  summarily denied,
                            denied, the
                                    the Ninth
                                        Ninth Circuit’s decision to
                                              Circuit's decision to entertain
                                                                    entertain such
                                                                              such review
                                                                                   review
   5
       – though
       —  thoughcertainly
                 certainlynot  conclusive –—arguably
                           not conclusive    arguablyraises
                                                      raisesaareasonable
                                                               reasonable inference
                                                                           inference on this
   6
       point.
   7
                Although the Bureau naturally
                Although            naturally disputes
                                              disputes this
                                                       this point,
                                                            point, D&D
                                                                   D&D is not required to
   8
       prove at this juncture that it will ultimately prevail on the merits. All that has to be
   9
       shown is a mere
       shown      mere likelihood of success. This relatively
                                                   relatively low standard is satisfied
                                                                              satisfied
  10
       here because,
       here because, judging
                     judging by
                             by this
                                this Court’s adoption of
                                     Court's adoption of D&D’s
                                                         D&D's view that the Bureau is
  11
       unconstitutional, the
       unconstitutional,  the real
                              real issue
                                   issue is
                                         is the adjudication
                                                adjudication of
                                                             of the proper remedy
                                                                           remedy for that
  12
       constitutional violation.
  13
                D&D is likely to succeed
                D&D              succeed on that issue
                                                 issue because,
                                                       because, in direct
                                                                   direct contrast
                                                                          contrast to the
  14
       Bureau’s no-harm,
       Bureau's no-harm, no-foul
                         no-foul approach
                                 approach to constitutional                 “the doctrine
                                             constitutional interpretation, "the
  15
       of separation
          separation of
                     of powers
                        powers is              safeguard rather
                               is a structural safeguard rather than
                                                                than a remedy
                                                                       remedy to
                                                                              to be
  16
       applied only
       applied only when
                    when specific
                         specific harm,
                                  harm, or
                                        or risk    specific harm,
                                           risk of specific harm, can be
                                                                      be identified."
                                                                          identified.”
  17
       Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 239 (1995) (emphasis in original).
  18
       Furthermore, because
       Furthermore,  because“federal
                             "federalcourts
                                      courtsmay
                                             mayexercise
                                                 exercisepower
                                                          poweronly
                                                                only …   when
                                                                     ... when
  19
       adjudication is
       adjudication is consistent
                       consistent with
                                  with aa system
                                          system of
                                                 of separated
                                                    separated powers"
                                                              powers” (Allen
                                                                      (Allen v. Wright,
                                                                                Wright,
  20
       468 U.S.
       468 U.S. 737,
                737, 752
                      752 (1984)
                           (1984) (internal   quotation marks
                                   (internal quotation  marks omitted)),
                                                              omitted)), the
                                                                         the Bureau's
                                                                             Bureau’s
  21
       dismissive approach
       dismissive approach disregards
                           disregardsthe
                                      the jurisdictional
                                           jurisdictionalbar
                                                          barpresented
                                                              presentedby
                                                                        by its
                                                                            its lack
                                                                                lack of
  22
       standing to prosecute this lawsuit.
  23
                These constitutional
                These constitutional issues
                                      issues are
                                             are not         substantial importance
                                                 not only of substantial importance to
                                                                                    to the
  24
       parties here, but to the entire financial services industry throughout the fifty states
  25
       that are struggling with the Bureau’s interpretation
                                the Bureau's interpretation of the law.
                                                            of the law. Given the serious
                                                                                  serious
  26
       and important questions raised in this case, a stay is warranted.
  27

  28   ///

                                                    5
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   1
                       3.   The public interest weighs in favor of a stay.

   2          Finally, a stay would
              Finally,        would serve
                                    serve important
                                          important interests
                                                    interests of sound and fair
                                                                           fair judicial
                                                                                 judicial
   3   administration. The public interest lies in proper resolution of the important issues
   4   raised in
       raised         case, and
              in this case, and issuance
                                 issuance of stay
                                             stay would
                                                  would avoid
                                                        avoid wasting
                                                              wasting resources
                                                                      resources on
                                                                                on a
   5   lawsuit which
       lawsuit which might
                     might be dismissed
                              dismissed on appeal.
                                           appeal. Conversely,
                                                   Conversely, the Bureau has
                                                               the Bureau has no
   6   legitimate interest
       legitimate interest in
                           in rushing
                              rushing this case to trial while
                                                         while appellate
                                                               appellate review is pending.
                                                                                   pending.
   7                                 sharply in favor
       As a result, the balance tips sharply    favor of a stay. See CFPB v. Accrediting
   8   Council
       Council for Indep. Colleges
               for Indep. Colleges &
                                   & Schools,
                                      Schools, 854
                                               854 F.3d
                                                   F.3d 683, 691
                                                             691 (D.C.
                                                                 (D.C. Cir.
                                                                       Cir. 2017)
                                                                            2017)
   9   (deeming the
       (deeming      Bureau’s interest
                 the Bureau's interest in ensuring compliance
                                       in ensuring compliance with
                                                              with the CFPA as
                                                                   the CFPA as
  10   insufficient to enforce civil investigative
       insufficient                  investigative demand
                                                   demand where
                                                          where the Bureau violated the
  11   statutory notice requirements
       statutory        requirements for
                                     for issuing
                                         issuing such an administrative
                                                         administrative subpoena
                                                                        subpoena in the
  12   first place).
  13          The Bureau, however, may rely on John Doe Co. v. CFPB, 849 F.3d 1129
  14   (D.C. Cir.
       (D.C. Cir. 2017)
                  2017) to dispute this
                        to dispute      point. In
                                   this point.    that case,
                                               In that case, aa company
                                                                company “filed
                                                                        "filed aa pre-
                                                                                  pre-
  15   enforcement suit to stop a non-self-executing investigative demand for regulatory
  16   information.” Id. at
       information."        1132. The
                         at 1132. The company
                                      company did
                                              did “not argue that
                                                  "not argue that it
                                                                  it falls
                                                                     falls beyond
                                                                           beyond the
                                                                                  the
  17   Bureau’s statutory
       Bureau's statutory authority"
                          authority” to
                                     to issue
                                        issue aa subpoena.
                                                 subpoena. Ibid. Treating this point as fatal
  18   to the
       to the company's
              company’s request
                        request for
                                for "an
                                    “an injunction
                                        injunction pending
                                                   pending appeal
                                                           appeal on the ground that the
  19   Bureau transgresses
       Bureau transgresses the
                           the separation
                               separation of
                                          of powers
                                             powers just
                                                    just by
                                                         by issuing
                                                            issuing aa CID” (id. at 1133),
                                                                       CID" (id.
  20       majority denied
       the majority denied the
                           the injunction
                               injunction request.
                                          request. In contrast to the
                                                   In contrast     the immediate
                                                                        immediate and
                                                                                  and
  21   concrete injury
       concrete  injury faced
                         faced by
                               by D&D
                                  D&D here
                                      here (e.g.,
                                           (e.g., based
                                                  based on
                                                        on the
                                                           the sheer
                                                               sheer size
                                                                     size of D&D’s
                                                                          of D&D's
  22   exposure),
       exposure), the
                   the “sole
                       "sole injury”
                             injury" the         asserted in
                                         company asserted
                                     the company           in that
                                                              that case was "the
                                                                   case was “the harm
                                                                                 harm
  23   occasioned by having to respond to a non-self-executing CID." Id. at 1132. Given
                                            non-self-executing CID.”
  24        fundamental discrepancies
       such fundamental discrepancies between
                                      betweenthese
                                              these fact
                                                     fact patterns,
                                                          patterns, this
                                                                     this case
                                                                          case does
                                                                               does not
  25   help the Bureau.
  26
  27

  28

                                                    6
         DEFENDANTS’ NOTICE OF MOTION & MOTION TO STAY THE CASE PENDING DISPOSITION OF APPEAL
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   1         CONCLUSION
       III. CONCLUSION
   2
             Absent aa stay,
             Absent    stay, D&D’s right to
                             D&D's right to aa post
                                               post-judgment appeal would be effectively
                                                    judgment appeal
   3
       eliminated
       eliminated because
                  because D&D
                          D&D cannot
                              cannot post aa multi-billion
                                             multi-billion dollar
                                                           dollar supersedeas
                                                                   supersedeas bond.
                                                                               bond.
   4
       Conversely,
       Conversely,once
                   once the  case is
                         the case is stayed,
                                      stayed, the
                                               the interlocutory
                                                    interlocutory appeal
                                                                  appeal will
                                                                         will achieve
                                                                               achieve
   5
       significant efficiencies,
       significant efficiencies, by
                                 by allowing
                                    allowing both
                                             both sides
                                                  sides to obtain a definitive ruling from
   6
                                 promoting judicial economy. Therefore,
       the appellate court, thus promoting                   Therefore, the motion for
   7
       stay should be granted.
   8

   9
                                      Respectfully submitted,

  10   Dated: May 26, 2017            Wilson, Elser, Moskowitz, Edelman & Dicker LLP
  11

  12                                    By: /s/ Robert Cooper
  13                                           Robert Cooper
                                               Attorneys for Defendants,
  14                                                    Marketing, Inc.,
                                               D and D Marketing,   Inc.,cVb/a
                                                                          d/b/a T3Leads,
  15                                           Grigor Demirchyan, and Marina
                                               Demirchyan
  16

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                                                    7
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